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          EXHIBIT E
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                                  UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF COLUMBIA

    UNITED STATES OF AMERICA

    v.                                                    Case No. 21-CR-00628 (ABJ)

    MICHAEL ANGELO RILEY,

                  Defendant.

                                   GOVERNMENT’S WITNESS LIST

            The Government’s list of witnesses whom the jury may hear from or about during its case-

in-chief is below. 1 Pursuant to the Court’s Scheduling Order (ECF No. 33), the Government

respectfully reserves the right to call unlisted witnesses as necessary in any rebuttal to the

Defendant’s case-in-chief.

         (1) Special Agent Stephen Hart, FBI

         (2) Civilian with initials B.S.

         (3) Civilian with initials J.H.*

         (4) U.S. Capitol Police Officer with initials V.L.*

         (5) U.S. Capitol Police Officer with initials G.P.*

         (6) Special Agent Brandon Merriman, FBI*




1
  Witnesses with an asterisk (*) next to their name are individuals whom the Government does not
intend to call, but whom the jury may hear about during its case-in-chief.
                                                      2
